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       In the United States Court of Federal Claims
   Nos. 18-1679C, 18-1758C, 18-1786C, 18-1813C, 18-1824C, 18-1852C, 18-1853C
                                  (consolidated)
                            (Filed: February 12, 2019)

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                                    *
NAVIENT SOLUTIONS, LLC., et al.,    *
                                    *
                    Plaintiffs,     *
                                    *
v.                                  *
                                    *
THE UNITED STATES,                  *
                                    *
                    Defendant.      *
                                    *
*************************************

                                         ORDER

       On February 7, 2019, Continental Service Group, Inc. (“Continental”) filed a brief
in opposition to the Government’s motion to dismiss the above-captioned bid protest. On
February 11, 2019, FMS Investment Corp. (“FMS”) filed a motion for leave to file a
supplemental complaint. Both Continental and FMS allege that the Department of
Education’s (“ED”) revised solicitation improperly bundles different types of student debt
collection and administration services.

        Because the parties’ allegations concern ED’s new solicitation, the Court orders
Continental, FMS, and other plaintiffs to Case No. 18-1679 who wish to contest ED’s
revised solicitation, to file their new complaints separately. The Court will open a fresh
docket to address the parties’ new protests. The Clerk of Court is directed to waive the
filing fees for parties to Case No. 18-1679 who wish to file new complaints related to ED’s
revised solicitation. The parties should call the Clerk’s office before filing. The cases
consolidated under Case No. 18-1679 are hereby dismissed without prejudice.

      IT IS SO ORDERED.

                                                        s/ Thomas C. Wheeler
                                                        THOMAS C. WHEELER
                                                        Judge
